Court of Appeals
of the State of Georgia

                                        ATLANTA,____________________
                                                 August 21, 2024

The Court of Appeals hereby passes the following order:

A25D0024. DANNY AMEN VALENTINE SHABAZZ v. THE IRBY REIT d/b/a
    THE IRBY et al.

      On July 1, 2024, Danny Amen Valentine Shabazz filed a “Notice of Appeal”
in the Supreme Court, which was docketed as an application for discretionary appeal.
The filing contained no order, but the Supreme Court obtained a May 23, 2024 order
from the trial court before transferring the application to this Court. See Case No.
S24D1236, transferred July 23, 2024. We, however, lack jurisdiction.
      Generally, a notice of appeal must be filed within 30 days of entry of the order
sought to be appealed. See OCGA § 5-6-38 (a). Based on the May 23 order, however,
Shabazz is attempting to appeal an order issued in a dispossessory case.1 And under
OCGA § 44-7-56, appeals in dispossessory actions must be filed within seven days of
the date the judgment was entered. See Ray M. Wright, Inc. v. Jones, 239 Ga. App. 521,
522-523 (521 SE2d 456) (1999). The proper and timely filing of a notice of appeal is
an absolute requirement to confer jurisdiction on this Court. Id. at 523. Here, Shabazz
filed his application 39 days after the trial court’s order. Accordingly, the filing was
untimely, and this appeal is hereby DISMISSED for lack of jurisdiction.




      1
        In the order, the trial court noted that a writ of possession had been granted
and a prior appeal dismissed. Shabazz apparently sought to re-open the dispossessory
matter, but the trial court denied Shabazz’s request.
Court of Appeals of the State of Georgia
  Clerk’s Office, Atlanta,____________________
                              08/21/2024
           I certify that the above is a true extract from
the minutes of the Court of Appeals of Georgia.
          Witness my signature and the seal of said court
hereto affixed the day and year last above written.


                                                  , Clerk.
